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BP Oil Spill Short Claim Form, CA 10-8888
U.S. District Court

Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was entered by Goldberg, Kevin on 3/21/2012 at 3:16 PM CDT and filed on

3/21/2012

Case Name: In Re: Oil Spill by the Oil Rig "Deepwater Horizon" SHORT-FORM JOINDERS
Case Number: 2:10-cv-08888-CJB-SS

Filer:

Document Number: | 18048

Docket Text:
Short-Form Joinder of Leland M. Rogers, 2642.(Goldberg, Kevin)

2:10-cv-08888-CJB-SS Notice has been electronically mailed to:
2:10-cv-08888-CJB-SS Notice has been delivered by other means to:
The following document(s) are associated with this transaction:
Document description:Main Document

Original filename:n/a

Electronic document Stamp:
[STAMP dcecfStamp_ID=1091133085 [Date=3/21/2012] [FileNumber=5602 173-0

] [be89521e9eb22 1 4dac073 1 1445f6e60da9a9365 1513402bc26b4d7d766b5d89c824
€738f6e4723570d3 feafaae2870fcbd79299 16981 700a5477f558d6fa6826]]

https://ecf.laed.uscourts.gov/cgi-bin/Dispatch.pl?114622258770755

3/21/2012
Case 2:10-md-02179-CJB-DPC _Document 6088-2 Filed 03/21/12 Page 2 of 4
Case Boom -02179-CJB-SS Document 983-3 Filed 01/12/14 Page 1 of 3

IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No, 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 1 0-2771)

MP BIT SECTION: J UGE CARL BARBIER
CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
______INMASTER COMPLAINTS - PLAINTIFFICLAIMANT PROFILEFORM.
By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset L in G Hf, :
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition Hie
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
IRec. Doc. ome a Private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injures 1
filed in MDL No. 2179 (10 md 2179). Toe B plosion injuries (“B3 Bundle”)

First Name

Last Name ' Middle Name/Maiden Suffix

Rogers Leland M.
Phone Number (504) G4Q.0044 «—«s—“‘té‘s~* Mal A
Addres55404 Delacroix Highway Clly Stale /Zip oat Benard LA 70085

INDIVIDUAL CLAIM ' BUSINESS CLAIM a om
— i + nag. z ius se uae

Business Name

“Employer Name
St. Bernard Parish Govt./ U.S, Maritime Services Inc.
Job Title / Description Type of Business
Vessel Owner
Address Address
8201 W. Judge Perez Drive/256 Canal Street, Suite 2500
City / Stale / Zip City / State / Zip
Chalmette, LA. 70043 and New Orleans, LA. 70130
Lasl 4 digils of your Social Security Number Last 4 digits of your Tax ID Number
2642
Attorney Name Firm Name
Kevin 1. Goldberg. . Goldberg, Finnegan & Mester LLC
Address Cily / Stale / Zip
1010 Wayne Avenue Suite 950 Silver Spring, MD 20910
Phone Number E-Mail Address
(301) 589-2999 _ kgoldberg@gimiawllc.com

Claim filed with BP?

VES “8G oo Claim Filed with GCCF?: YES NO

If yes, BP Claim No.: If yes, Claimant identification No.:

Claim Type (Please check all that apply):
oO Damage or destruction to real or personal property
Earnings/Profit Loss

oO Personal Injury/Death

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources

Removal and/or clean-up cosls
Other; BP VoO Compensation Claim

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1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10-8888, While this Direct
Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec, Doc. 245, C.A. No, 10-2771 and Rec. Doc, 982 in MDL 2179), the filing of this form
in C.A. No, 10-8888 shall be deemed to be simultaneously filed in C.4, 10-2772 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronically by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form,

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Case ¢:10-7nd021 73 CIB. DPC Document 6088-2 Filed 03/21/12 Page 3 of 4
ase 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

a VS Ey

Brief Description:

1, For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the inj i
. ; 4 , injury. For cl
involving real estate/property, include the property location, type of property (residential/commercial), and sGalier BIgai)
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds al issue.

Mr. Leland Rogers is a licensed commercial crabber who crabbed in and around the

Oak River Louisiana coastal waters.

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all healt i
employers 2008 to present and complete authorization forms for each. ¥ pica prONeDS a

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

Mr. Rogers attended training and was hired by the St. Bernard Parish Government and

U.S. Maritime Services Inc. His boat registered as LA3939FP was chartered for the program,

2

The filing of this Direct Filing Short Form shall also serve in liew of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims: |

Non-governmental Economic Loss and Property Damage Claims (Bundie B1)}

1, Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

Oz Seafood processor, distributor, retall and seafood market, or restaurant owner and operalor, or an employee thereof.

(13. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

(14. Commercial business, business owner, operator or worker, Including commercial divers, offshore oilfield service, repair and
supply, real eslate agents, and supply companies, or an employee thereof.

(1 5. —_ Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
O 6. Plant and dock worker, including commercial seafood plant worker, tongshoreman, or ferry operator.

O17 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

1 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
[] 9. Bank, financial institution, or retail business thal suffered losses as a resull of the spill.

O 10. Person who ulilizes natural resources for subsistence.

[J 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle 83)

1. Boat captain or crew involved in the Vessels of Opportunity program.
gO 2. Worker involved in decontaminaling vessels that came into contact with oil and/or chemical dispersants.

Ol 3. Vessel captain or crew who was not involved in the Vassels of Opportunity program bul who were exposed to harmful chemicals,
oders and emissions during post-explosion clean-up activities,

Oo 4, Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

5, Resident who lives or works in close proximity to coastal waters.
6. Other, Owner of VoO chartered vessel

Both BP and the Gulf Coast Claims Facility (“GCCF") are hereby authorized to-release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff anc-ififormation regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plat or his attorney if applicable) filing this form and_P ugh Plaintiff Liaison Counsel,

Claman or Attorney Signature

Kevin |. Goldberg, Attorney for Leland M. Rogers

3 fe

Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

